                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION
                                   No. 5:19-cv-00394-BO

   PAUL JONES AND MARK FITZHENRY,                     )
   ON BEHALF OF THEMSELVES AND                        )
   ALL OTHERS SIMILARLY SITUATED,                     )
                                                      )
                       PLAINTIFFS,                    )
                                                      )
            v.                                        )
                                                      )
    SAFE STREETS USA LLC, ACQUITY,                    )
    LLC and TEKTIKS INNOVATIVE                        )
    NETWORK USA INC,                                  )
                                                      )
                       DEFENDANTS.                    )

                                    NOTICE OF SETTLEMENT

       Plaintiffs hereby notify the Court that the parties have reached an agreement in principle to

settle the litigated claims in this case on a class-wide basis, subject to Court approval. The parties

are presently drafting a written Settlement Agreement and related documents in advance of

seeking preliminary approval. Plaintiffs will file the Settlement Agreement and related documents

with the Court as part of a Motion for Preliminary Approval by August 2, 2021.

       Based on the foregoing, the parties respectfully request that all current deadlines be

suspended pending the filing of the proposed Settlement Agreement.


          Dated: July 2, 2021                  Respectfully submitted,

                                               /s/ Avi R. Kaufman
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                                          Local Civil Rule 83.1(d) Counsel for Plaintiffs


                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 2, 2021, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF, which is being served this day on all counsel of record

via transmission of Notice of Electronic Filing generated by CM/ECF.


                                            /s/ Avi R. Kaufman




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